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           EXHIBIT D
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                                       Cooper & Kirk
                                                     Lawyers
                                       A Professional Limited Liability Company

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ccooper@cooperkirk.com

                                               August 30, 2021

VIA ELECTRONIC MAIL

Howard Cooper, Esq.
Todd & Weld, LLP
One Federal Street
Boston, MA 02110

       Re:     Request to Remove Confidentiality Designation of Settlement Agreement

Dear Howard:

       I write in response to your letter of August 26, 2021, requesting Ms. Giuffre’s agreement to remove
the confidentiality designation of the November 2009 Settlement Agreement between her and Jeffrey
Epstein.

         Our client is but one of the parties to the Settlement Agreement at issue and thus is not in position
to unilaterally lift the confidentiality designation from this document. While we agree that the fact that
Ms. Giuffre entered into a Settlement Agreement with Jeffrey Epstein is not confidential, we do not agree
that “a fair reading” of the Settlement Agreement limits its confidentiality to the amount of the settlement.
To the contrary, the Settlement Agreement plainly requires the parties to maintain confidentiality of the
entire Settlement Agreement, in whole or in part. We have previously produced this confidential
Settlement Agreement to you consistent with Judge Preska’s rulings that we provide to the Defendant a
copy of the Plaintiff’s document production from the Maxwell case subject to the Maxwell Protective
Order under which the Settlement Agreement was initially designated as confidential and produced. Thus,
if you wish to have the confidentiality of this Settlement Agreement lifted, you will need to request such
relief from Judge Preska.

                                                           Sincerely,

                                                           /s/ Charles J. Cooper
                                                           Charles J. Cooper

cc:    David Boies, Esq.
       Boies, Schiller & Flexner LLP
       401 East Las Olas Blvd., Ste. 1200
       Fort Lauderdale, FL 33301
       dboies@bsfllp.com
